               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION
                   CIVIL CASE NO. 2:14-cv-00015-MR
               (CRIMINAL CASE NO. 2:00-cr-00018-MR-2)


EDDIE DEWAYNE CARRINGER, )
                            )
              Petitioner,   )
                            )                   MEMORANDUM OF
     vs.                    )                   DECISION AND ORDER
                            )
UNITED STATES OF AMERICA, )
                            )
                            )
              Respondent.   )
___________________________ )

       THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence, filed under 28 U.S.C. § 2255, [Doc. 1]. No

response from the Government is necessary. For the reasons that follow,

the Court finds that this is an unauthorized, successive petition.1 The Court

therefore dismisses the Motion to Vacate.

I.     PROCEDURAL BACKGROUND

       On June 7, 2000, Petitioner pled guilty pursuant to a written plea

agreement to one count of assaulting, resisting, or impeding certain officers

or employees and aiding and abetting the same, in violation of 18 U.S.C.

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    Petitioner submitted the petition in letter form and requested that the Court accept
“this letter/certification in lieu of a more formal petition under 28 U.S.C. § 2255(e) and
(f)(3).” [Doc. 1 at 1].


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§§ 111 & 2 (Count Two); and one count of using a firearm during and in

relation to a crime of violence and aiding and abetting the same, in violation

of 18 U.S.C. §§ 924(c) & 2 (Count Three). [Criminal Case No. 2:00-cr-

00018-MR-2, Doc. 67: Entry and Acceptance of Guilty Plea; Doc. 84:

Judgment].       Petitioner was sentenced to a term of 100 months’

imprisonment on Count Two and a term of 120 months’ imprisonment on

Count Three with those terms to run consecutively, for a total term of

incarceration of 220 months. [Id., Doc. 84: Judgment]. Petitioner did not

appeal.

        Petitioner filed his first 28 U.S.C. § 2255 petition on June 2, 2008,

which this Court denied with prejudice as untimely on June 24, 2008. See

[Id., Docs. 96, 97; Civil Case No. 2:08-cv-00015-MR (W.D.N.C.)].

Petitioner filed a second 28 U.S.C. § 2255 petition on February 21, 2012,

which this Court denied as an unauthorized successive petition on March 6,

2013. [Id., Docs. 110, 112; Civil Case No. 2:12-cv-00026-MR (W.D.N.C.)].

Petitioner placed the instant Section 2255 petition in the prison system for

mailing on April 21, 2014, and it was stamp-filed in this Court on April 28,

2014.     Thus, this is the third Section 2255 petition filed by Petitioner

challenging the conviction and sentence in Criminal Case No. 2:00-cr-18-

MR-2.     In the instant petition, Petitioner contends that he is entitled to


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sentencing relief based on the Supreme Court’s opinion in Descamps v.

United States, 133 S. Ct. 2276 (2013).

II.      STANDARD OF REVIEW

         Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. After having considered the record in this matter, the Court finds that

no response is necessary from the United States. Further, the Court finds

that this matter can be resolved without an evidentiary hearing.             See

Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

III.     DISCUSSION

         Pursuant to 28 U.S.C. § 2244(b)(3)(A), “[b]efore a second or

successive application permitted by this section is filed in the district court,

the applicant shall move in the appropriate court of appeals for an order

authorizing the district court to consider the application.”        The instant

motion to vacate is a successive petition. Thus, Petitioner must first obtain

an order from the United States Court of Appeals for the Fourth Circuit

before this Court will consider any successive petition under 28 U.S.C. §

2255. Petitioner has not shown that he has obtained the permission of the


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United States Court of Appeals for the Fourth Circuit to file a successive

petition. See also 28 U.S.C. § 2255(h) (“[a] second or successive motion

must be certified as provided in section 2244 by a panel of the appropriate

court of appeals.”).       Accordingly, this successive petition must be

dismissed. See Burton v. Stewart, 549 U.S. 147, 153 (2007) (holding that

failure of petitioner to obtain authorization to file a “second or successive”

petition deprived the district court of jurisdiction to consider the second or

successive petition “in the first place.”).

IV.     CONCLUSION

        For the reasons stated herein, Petitioner’s Section 2255 petition is

dismissed.

        Pursuant to Rule 11(a) of the Rules Governing Section 2254 and

Section 2255 Cases, this Court declines to issue a certificate of

appealability. See 28 U.S.C. § 2253(c)(2); Miller–El v. Cockrell, 537 U.S.

322, 338 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong); Slack v.

McDaniel, 529 U.S. 473, 484 (2000) (when relief is denied on procedural

grounds, a petitioner must establish both that the dispositive procedural




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ruling is debatable and that the petition states a debatable claim of the

denial of a constitutional right).

      IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate

[Doc. 1] is DISMISSED as a successive petition.

      IT IS FURTHER ORDERED that the Court declines to issue a

certificate of appealability.

      IT IS SO ORDERED.
                                     Signed: June 11, 2014




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